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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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Case 17-22317-CMB   Doc 1 Filed 06/05/17 Entered 06/05/17 09:36:16   Desc
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